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                            NO. 23-60069


          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


 STATE OF TEXAS; TEXAS COMMISSION ON ENVIRONMENTAL
  QUALITY; LUMINANT GENERATION COMPANY LLC; COLETO
   CREEK POWER, LLC; ENNIS POWER COMPANY, LLC; HAYS
    ENERGY, LLC; MIDLOTHIAN ENERGY, LLC; OAK GROVE
     MANAGEMENT COMPANY LLC; WISE COUNTY POWER
 COMPANY, LLC; ASSOCIATION OF ELECTRIC COMPANIES OF
  TEXAS; BCCA APPEAL GROUP; TEXAS CHEMICAL COUNCIL;
TEXAS OIL & GAS ASSOCIATION; PUBLIC UTILITY COMMISSION
 OF TEXAS; AND RAILROAD COMMISSION OF TEXAS; STATE OF
MISSISSIPPI; MISSISSIPPI DEPARTMENT OF ENVIRONMENTAL
     QUALITY; MISSISSIPPI POWER COMPANY; STATE OF
       LOUISIANA; AND LOUISIANA DEPARTMENT OF
                ENVIRONMENTAL QUALITY

                             Petitioners,

                                  v.

  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
          and MICHAEL S. REGAN, Administrator,
        United States Environmental Protection Agency,

                            Respondents.


 DECLARATIONS IN SUPPORT OF MOTION FOR LEAVE TO
 INTERVENE BY SIERRA CLUB, AIR ALLIANCE HOUSTON,
            AND DOWNWINDERS AT RISK
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/s/ Joshua D. Smith                    /s/ Kathleen L. Riley
Joshua D. Smith                        Kathleen L. Riley
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Admission Pending
                                       Filed: March 27, 2023

Counsel for Sierra Club
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                        CERTIFICATE OF SERVICE

    On this 2th day of March, 2023 a true and correct copy of the foregoing

Declarations in Support of Motion For Leave To Intervene by Sierra Club, Air

Alliance Houston, and Downwinders at Risk was filed with the electronic case

filing (ECF) system of the U.S. Court of Appeals for the Fifth Circuit, which will

provide electronic notice to counsel of record.

                                                    /s/ Joshua Smith
                                                    Joshua Smith
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                  DECLARATION OF JENNIFER HADAYIA
1.      I am the Executive Director of Air Alliance Houston (AAH), founded over

30 years ago, and I have served in this role since November 15, 2021. I have a

master’s degree in public policy and administration. Previously, I worked for

Legacy Community Health Services, Inc., the largest Federally Qualified Health

Center (FQHC) in the state of Texas, as the director of their public health

department. Before that, I oversaw health equity initiatives for Harris County

Public Health, the governmental public health department for Harris County,

Texas. Through this work, I have gained knowledge of the impacts of air pollution

on health and of the state of air quality in Houston and Harris County. I have also

gained experience working with community members, groups, and policymakers

concerned about air quality.

2.      I was born and raised in Houston, and my family includes three generations

of people who have worked at the Houston Ship Channel and related

petrochemical facilities. Air pollution is a concern for me personally due to my

family’s multi-generational exposure. I also personally spend time near these

facilities, as much as several times a month, to visit family members and for

various work purposes, and I am aware of the pollution in the air there due to

observing smells, flares, and haze. I also pay close attention to Ozone Action Days

and Asthma Air Aware Day Warnings issued by the local health department. I


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notice greater difficulty breathing for myself and for my family members when we

are outdoors on those days, so we make the decision to spend less time walking or

biking outdoors than we would like to.

3.      AAH is a non-profit advocacy organization whose mission is to reduce the

public health impacts of air pollution in Houston and Harris County. This includes

the health impacts of ozone pollution. We pursue our mission by conducting

applied research on air pollution, educating the community about the harms of air

pollution and its sources, and advocating for improvements at the local, state, and

national levels. We work closely with constituents to provide the training and

technical assistance they need to address air pollution in their daily lives.

4.      Through our research, we have observed that air pollution exposure is

concentrated in communities in Houston and Harris County that are predominantly

people of color and lower income. This is due to the presence of multiple air

pollution sources being historically and consistently located in these communities,

such as refineries and major highways. Populations of color and lower income

populations are also more susceptible to the health effects associated with poor air

quality and have less access to health care. Working to remedy this type of

unfairness is a core part of AAH’s mission.

5.      Through my job responsibilities, I am aware that ozone results from the

reaction of nitrogen oxides (NOx) and volatile organic compounds (VOCs) in the

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atmosphere and that these compounds are emitted from, among other sources,

refineries and power plants. Further, from scientific studies I review as part of my

job, I am aware that some of these VOCs are hazardous air pollutants, like

benzene, that can cause health impacts such as cancer and severe breathing

problems. I also know from my research that, as climate change results in higher

temperatures for longer periods of time, the conditions for the creation of ozone

become more common.

6.      Because of the harms it causes to public health, ozone pollution is a major

focus of AAH. In Houston and Harris County, there are many large industrial

facilities whose emissions contribute to ozone pollution locally, such as concrete

plants, metal recyclers, and petrochemical refineries and terminals. In the

contiguous county of Fort Bend is also located a prominent polluter of ozone-

causing and other pollutants: W.A. Parish Generating Station (2500 Y. U. Jones

Rd, Richmond, TX 77469). As a result of my work, I am aware that the Houston

area continues to be in non-attainment of the 2015 ozone standard according to the

EPA, and I understand the ozone resulting from the facility impacts the air in

Houston and Harris County, as well in other states.

7.      AAH routinely avails itself of opportunities to participate in public rule-

making processes to address air pollution like ozone that harms health in the

Houston area. We regularly testify on proposed rules and regulations that may have

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impacts on air quality and, subsequently, public health. We participate on regional

air quality committees and weigh in at the federal and state levels on plans to limit

ozone and other forms of air pollution. We also engage in the permitting process

for local facilities by submitting public comments and speaking at public meetings.

I am often the person who provides such testimony on behalf of AAH. I also write

talking points and otherwise provide guidance to AAH staff and community

members who also provide written or oral testimony.

8.       Additionally, I am aware that the EPA recently disapproved Texas’s and

twenty other states’ submitted implementation plans because they failed to address

their pollution that contributes to unhealth ozone levels in other states.

9.       If ozone pollution in the areas I work and visit were reduced, either through

a revised state plan or a federal plan, it would reduce risks to my health and

wellbeing and to that of my family members, co-workers, AAH’s supporters, and

the Houston area community as a whole. I am concerned that if cross-state ozone

pollution is not more strictly controlled, then the risks to health will continue to

compound here in Houston and Harris County, where we are already in severe

ozone non-attainment due to multiple local and nearby pollution sources including

refineries and power plants. Accordingly, I submit this declaration to support

AAH’s intervention in defense of EPA’s national disapproval of inadequate state

plans.

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I declare under the penalty of perjury that, to the best of my knowledge, the

foregoing is true and correct.


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Executed in Houston, Texas on March _____, 2023.




JJennifer
     if M.M Hadayia,
            H d i MP MPA




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                   DECLARATION OF MARJORIE LEWIS

I, Marjorie Lewis, hereby declare as follows:

      1.     I am 46 years old and competent to give this declaration. I have

personal knowledge of the following facts, and if called as a witness could testify

competently to them. As to those matters which reflect an opinion, they reflect my

personal experience, opinion and judgement on the matter.

      2.     I live in Madison, Wisconsin, northwest of Kenosha, and about an

hour from Milwaukee and the Lake Michigan shoreline.

      3.     I am an active member of the Sierra Club and have been a member

since 2016 because I care deeply about protecting the environment and public

health and I believe Sierra Club has been effective in furthering its mission to

protect the environment. I am a volunteer for the Wisconsin Chapter. When I

learned that Wisconsin gets 60% of its energy from fossil fuels such as coal, I

searched for a way to get involved and make a difference. As a volunteer for the

Sierra Club’s Beyond Coal Campaign, I engage in activism to stop the construction

of new coal plants, get coal-fired power plants to shut down, and encourage

Wisconsin to transition to clean energy.

      4.     As a volunteer with Sierra Club’s Beyond Coal Campaign, I know

that fossil-fuel burning power plants and other industrial sources emit significant

amounts of nitrogen oxides, which can contribute to the formation of harmful
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ground-level smog or ozone in the communities around those power plants, and

sometimes even hundreds of miles away.

      5.     It’s my understanding that EPA has found that air quality in Kenosha,

Milwaukee and other nearby Wisconsin and Illinois counties violates the national

standard for safe ozone pollution. As I understand it, that essentially means that the

air is unhealthy to breathe.

      6.     I know that EPA has also determined that unsafe smog in Wisconsin

and Illinois is partly due to air pollution from power plants hundreds of miles

away, in states like Texas, Missouri, Ohio, Kentucky, and others.

      7.     I am very concerned about poor air quality in my community and in

the broader Kenosha County. I don’t have respiratory issues, but I experience

anxiety and worry for my friends and clients who have asthma. I also consider

myself a health-conscious person and work hard to eat healthy and exercise. I find

it deeply upsetting that factors out of my control – especially poor air quality –

increase my and my family’s risk of developing adverse health impacts as a result

of breathing in polluted air. As a mother of four, I also worry about the cognitive

development of children living in polluted air because we as a society are not

doing enough to stop this smog and pollution.

      8.     I worry about my health as well as the health of my family. As a

result, I frequently monitor the air quality in my area. I use a weather app to
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monitor air quality info and use this to plan our activities on poor air quality days. I

regularly take sunrise walks around Lake Mendota. On a clear morning I can see

into the distance for miles. However, on smoggy mornings I notice a grey cast that

gives they sky a dingy and dirty quality which I makes me upset. Although I love

to for hikes and bike rides, I still feel anxious about the air quality, and that

diminishes my enjoyment of the outdoors. We experience this smog year-round,

regardless of season, and it’s really disappointing to me that despite knowing the

health consequences of smoggy air, we still need to advocated for cleaner air.

      9.     I understand that EPA recently issued a rule that would reduce smog

pollution in Wisconsin by requiring large industrial sources of ozone-forming

pollution to do their fair share to reduce pollution. And I know that Sierra Club

advocated for such protections, and is supporting EPA against legal challenges

from industry.

      10.    I support EPA’s regulations because I believe that reducing pollution

from power plants both in Wisconsin and in other states would benefit my health

and my family and friends, and improve my enjoyment of nature and the outdoors.
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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
is true and correct to the best of my knowledge and belief.
          
Dated: __________

                                      _______________________
                                       __________
                                                _________
                                                        _

                                      Marjorie Lewis
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                DECLARATION OF BRANDT MANNCHEN

I, Brandt Mannchen, hereby declare as follows:

   1. I am a member of the Sierra Club. I joined the Sierra Club in 1977 because I

      strongly support the Sierra Club’s mission and its dedication to

      environmental stewardship. I greatly enjoy participating in Sierra Club

      activities. I submit public comments on draft environmental regulations, give

      presentations to other members, and learn from the mentorship of fellow

      members. I am the Forest Management Issue Chair for my local Sierra Club

      chapter, and I often interact with the U.S. Forest Service when they propose

      new projects. I am also the Forestry Chair and am outings leader for the

      Houston Regional Sierra Club, so I organize trips to parks and national

      forests so that Sierra Club members can learn more about nature and foster a

      greater sense of environmental stewardship.

   2. I greatly appreciate the Sierra Club’s commitment to public health in Harris

      County, Texas. I grew up in Harris County, and I have lived in Harris

      County for the past 47 years. My academic and professional experience has

      educated me on air pollution in Harris County. I have a Bachelor of Science

      Degree in Environmental Science and a Master of Science Degree in

      Environmental Management. Though I am currently retired, I worked for the

      City of Houston Health Department from 1975 to 2004. I spent 26 of those


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   years in the Bureau of Air Quality Control, where I served as an air quality

   investigator. I want Harris County to be a cleaner place to live, and I am

   keenly aware of the impact of air pollution on public health.

3. I understand that Harris County is failing to meet the 2015 ozone standard

   and that, according to EPA, some of the ozone pollution in Harris County

   comes from other states, including Louisiana, Mississippi, and Arkansas.

4. I am also a member of other environmental groups. I am a member of the

   Texas Land Conservancy and perform restoration work with them. I also am

   a member of the Coastal Prairie Conservancy and perform restoration work

   with them as well. I am also a member of the Gulf Coast Bird Observatory.

5. I am very concerned about the air quality of my local area. I have allergies,

   which I believe are attributed in part to air pollution. I have consistent issues

   with nasal drainage, which I believe air pollution exacerbates. I also have

   encrustations in my nose, which bleed and make it more difficult to breathe.

   I sometimes feel the bloody encrustations in my nose when I breathe, which

   is very discomforting. I worry that the poor quality in my local area will

   worsen my health issues or create new ones.

6. The health impacts of air pollution make me concerned for my family,

   including my wife who I live with. I don’t want my family exposed to

   dangerous air pollutants. My concerns for my health and the health of my


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   family due to air pollution lower my quality of life, and I would be much

   happier if the air quality were improved.

7. I take walks every day to enjoy the outdoors in my local neighborhood. I

   also like to go birdwatching at wildlife refuges, such as Anahuac, San

   Bernard, and Brazoria, a couple times a year each. The air pollution in my

   area takes away from my enjoyment of taking my walks or birdwatching,

   lowering my quality of life. On bad days, I can see the haze of the air

   pollution, which makes me feel anxious about the high concentrations of air

   pollution I breathe in while taking my walks and birdwatching. I am also

   anxious that, even when it can’t be seen or smelled, air pollution is always

   present, and I could be exposed to dangerous contaminants without even

   realizing. Though I am determined to take my walks, I make decisions to try

   to minimize my exposure to air pollution. I try to minimize my time outside

   on days with severe ozone pollution. I avoid taking walks at 3pm, as I

   understand that pollution levels are usually highest at that time of day.

   Instead, I take walks in the early mornings, because pollution levels then are

   usually at their lowest. I worry about my health because of my age. I want to

   enjoy life for as long as possible with my family and enjoy the environment

   by going outside. I am concerned that pollution could debilitate me and keep

   me from enjoying the environment the way that I want to.


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                     DECLARATION OF VERENA OWEN

I, Verena Owen, hereby declare as follows:

      1.     I am 66 years old and competent to give this declaration. I have

personal knowledge of the following facts, and if called as a witness could testify

competently to them. As to those matters which reflect an opinion, they reflect my

personal experience, opinion and judgement on the matter.

      2.     I live in Winthrop Harbor, Illinois, just south of Kenosha, Wisconsin,

and about one mile from Lake Michigan, and about an hour north of Chicago.

      3.     I am an active member of the Sierra Club and have been a member

since 1991. I got involved with the Sierra Club because I am passionate about its

mission to protect the environment and public health. I am the Volunteer Co-

Leader of Sierra Club’s National Beyond Coal Campaign, In that role, I helped co-

found the Beyond Coal Campaign in 2002, when other Illinois Sierra Club

volunteers and I began to see more and more proposals for new coal plants

popping up in the backyards of communities across Illinois and Wisconsin.

Together, with other Sierra Club volunteers, we began tracking coal plant permits

and participating in regulatory and rulemaking proceedings across the country to

stop the build out of new coal plants and push highly-polluting, existing coal and

fossil-fuel burning power plants to clean up their pollution or transition to clean

energy. I have also spoken in support of strengthening air pollution standards in
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numerous EPA and state rulemakings, including EPA’s 2010 public hearings in

Chicago regarding the Transport Rule.

      4.      Given my volunteer experience as part of the Sierra Club’s Beyond

Coal Campaign for more than 20 years, I know that fossil-fuel burning power

plants and other industrial sources emit significant amounts of nitrogen oxides,

which can contribute to the formation of harmful ground-level smog or ozone, both

in the vicinity of those power plants and sometimes hundreds of miles away.

      5.      I’m also aware that EPA has determined that air quality in Lake

County, Illinois, where I live, and several nearby counties in Illinois and

Wisconsin, fail to meet national safeguards for ozone pollution, meaning that the

air is unhealthy to breathe. I know that, according to EPA and air quality modeling,

high concentrations of ozone pollution in Illinois and Wisconsin are due, in part, to

air pollution from power plants hundreds of miles away, in states like Texas,

Missouri, Ohio, Kentucky, and others. Smog also causes hazy skies and visibility

impairment in places like Chicago, where I regularly travel for volunteer work and

recreation.

      6.      I am deeply concerned about smog and poor air quality in my

community and in the broader Chicago area. While I personally do not have

respiratory issues, I do have a heart condition which research shows can be

exacerbated by ozone pollution. Additionally, my husband is sensitive to the
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respiratory effects of ozone pollution and experiences a heavy feeling in his lungs

on days when the air quality index (“AQI”) is high. I often tell him to take it easy

or to go home and this limits our ability to enjoy outdoor activities.

      7.     I worry about my health as well as the health of my husband. As a

result, I frequently monitor the air quality in my area. I use a smart phone app and

subscribe to email updates from AirNow, each of which notifies me when air

pollution is bad in my area – to plan our daily activities. Although we love to go

for walks along Lake Michigan, hikes and bike rides in our community, and

garden, we avoid going outdoors on days when the air quality is bad and ozone

levels are high. We also enjoy going to farmers markets or going shopping in

Kenosha, and our doctor’s office is also in Kenosha. I also regularly travel to

Chicago to attend social or cultural events as well as visiting the Sierra Club office.

But I avoid those activities, if I can, when air quality is poor. Sometimes, however,

I have to go into the Chicago office or shopping, and I’m unable to avoid being

exposed to elevated smog levels, which makes me concerned for my health and my

husband’s well being. It’s also disappointing to see smog in places like Chicago,

and it makes me sad to know that a large portion of that smog could be eliminated

if we reduced our reliance on fossil-fuel burning energy generation.

      8.     I would like to enjoy regular outside activities such as biking, hiking,

and gardening, but we have to avoid those activities on bad air days. My residence
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in Winthrop is about a mile from Lake Michigan and about three blocks from

Wisconsin border. I enjoy taking walks along the lakeshore. On clear days, I can

distinctly see the Chicago skyline about 50 miles south. When smog pollution

levels are high, the entirety of the skyline is sometimes obscured, which is

incredibly disappointing to me.

      9.     I understand that EPA has issued a rule that would reduce smog

pollution in Illinois and Wisconsin by requiring power plants and other sources of

ozone-forming pollution in other states to do their fair share to reduce pollution.

And I know that Sierra Club advocated for such protections, and is supporting EPA

against legal challenges from industry. I support EPA’s regulations and Sierra

Club’s effort to support those regulations because the rule would benefit my health

and my family, and improve my ability to spend time outdoors hiking, biking,

gardening, and enjoying nature and the outdoors generally.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
is true and correct to the best of my knowledge and belief.
Dated: 3/16/2023




                                       ____________________BBBBB_

                                       Verena Owen
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                         DECLARATION OF ANTOINETTE REYES

I, Antoinette Reyes, declare as follows:

1.      My name is Antoinette Reyes. I am over 18 years old. The information in this declaration

        is based on my personal experience and my review of publicly available information.

2.      My primary residence is in Las Cruces, New Mexico. I have lived in Doña Ana County

        for over six years.

3.      I am a community organizer with Sierra Club’s Rio Grande Chapter, which is the chapter

        representing New Mexico. I have been in this role for the past three years.

4.      I have been a member of Sierra Club since August 2019.

5.      Sierra Club is a nationwide non-profit environmental membership organization, which

        has its purpose to explore, enjoy, and protect the wild places of the earth; to practice and

        promote the responsible use of the earth’s ecosystems and resources; to educate and enlist

        humanity to protect and restore the quality of the natural and human environment; and to

        use all lawful means to carry out these objectives.

6.      I first became involved with Sierra Club as a volunteer when I was in high school living

        in Southern California. Sierra Club was one of the first nonprofits that caught my

        attention. At the time, Sierra Club was challenging a state proposition that we felt would

        weaken air quality. I hung flyers on doors, encouraging people to vote no on the

        proposition. I have also been involved with other environmental issues, especially when

        environmental issues overlap with public health. As an organizer with Sierra Club, I now

        organize community members on issues related to oil and gas development, particularly

        in the Permian Basin.




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7.      I am familiar with ozone issues in New Mexico and Texas from work that the Rio Grande

        Chapter has done. For example, our Chapter joined with the national Sierra Club and

        other partners in a lawsuit challenging the federal Environmental Protection Agency’s

        (“EPA”) previous decision to designate El Paso as being in compliance for ozone

        standards. I am also aware that Doña Ana County suffers from poor air quality, including

        from ozone pollution, in part due to pollution coming from Texas.

8.      I have two children, a daughter, who is 9, and a son, who is 7. My daughter has asthma,

        and we are not sure right now if my son also has asthma.

9.      My daughter’s asthma began when she was 6 years old, after we moved to Las Cruces. At

        the time she was coughing all the time, and we were really concerned. We took her to a

        bunch of doctors’ appointments. It seemed like we just couldn’t figure out what was

        wrong. But then when she was 7 or 8, a doctor said that her symptoms were asthmatic

        and prescribed an inhaler.

10.     Her coughing has been much better since she’s been on an inhaler, but there are still flair

        ups. For instance, increased traffic will make a difference. There are two major highways

        that go through Las Cruces: Interstate 10 and Interstate 25. Around the holidays there are

        always a lot of travelers, and I will notice that my daughter’s asthma is worse during

        these times.

11.     My family and I enjoy spending time outside. We will go to local parks, and we’ve also

        been hiking in nearby national and state parks. My daughter also likes to sit in a

        hammock in our back yard to read.

12.     I have a friend who will alert me when it’s a bad ozone day and tell me to stay inside.

        Since finding out that my daughter has asthma, we do stay inside more often.



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13.    Because my daughter has asthma and I am concerned that my son may also be

       developing asthma, if ozone pollution was reduced, my family would absolutely benefit.

14.    I understand that Sierra Club is seeking to intervene in several lawsuits challenging

       EPA’s disapproval of Texas’ State Implementation Plan addressing ozone pollution. I

       understand that the EPA disapproved Texas’s plan because the Agency found that the

       plan would not sufficiently reduce ozone pollution originating in Texas and traveling to

       other states, including New Mexico. I am participating in this case because I care about

       my community. I am alarmed and deeply concerned by the ozone pollution because I

       have never lived anywhere where so many kids have asthma or other respiratory illnesses

       and infections. I worry about my children, my nieces and nephews, and my little cousins.



I declare under penalty of perjury that, to the best of my knowledge, the foregoing is true and

correct.



          3/13 2023.
Executed ______,




                                                     Antoinette Reyes




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